        Case 3:09-cr-05452-RJB       Document 239      Filed 10/23/09          Page 1 of 1




 1                                                                  Hon. Robert J. Bryan
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 6
                        UNITED STATES DISTRICT COURT
 7                     WESTERN DISTRICT OF WASHINGTON
                                 AT TACOMA
 8
      UNITED STATES OF AMERICA,
 9
                                                  NO. CR09-5452-RJB
10               Plaintiff,
                                                  ORDER ON AMENDED
11         v.                                     MOTION TO SUBSTITUTE
                                                  COUNSEL
12    CRESCENCIANO YANEZ-BUCIO,
13
                 Defendant.
14

15
           Having reviewed the declaration of counsel and considering the files of this
16
      cause, the motion is hereby granted. John Crowley shall substitute as attorney
17    of record effective immediately and Thomas E. Weaver shall withdraw,
18    effective immediately.
19               IT IS SO ORDERED this 23rd day of October, 2009.



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22                                  ROBERT J. BRYAN
                                    United States District Judge
23
     ORDER ON MOTION TO SUBSTITUTE COUNSEL - 1             The Crowley Law Firm, PLLC
                                                                          Smith T ower
                                                                           Suite 1015
                                                                     506 Second Avenu e
                                                                 Sea ttle, Wa shington 98104
                                                          Tel (206) 625 -7500 ♦ Fa x (206) 625 -1223
